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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                   §
In re:                                             § Chapter 7
                                                   §
ALEXANDER E. JONES,                                § Case No. 22-33553 (CML)
                                                   §
                Debtor.                            §
                                                   §
                                                   §

                           TRUSTEE’S PRELIMINARY RESPONSE
                                [Relates to Docket No. 913]

         Christopher R. Murray, the Chapter 7 Trustee (the “Trustee”) for the bankruptcy estate of

Alexander E. Jones files this preliminary response to the Emergency Motion to Disqualify Global

Tetrahedron, LLC’s Bid, (the “Emergency Motion”) [DE 913] and respectfully states as follows:

         1.     FUAC’s Emergency Motion is a disappointed bidder’s improper attempt to

influence an otherwise fair and open auction process.

         2.     Having failed in its prior efforts to bully the Trustee and his advisors into accepting

its inferior bid, FUAC now alleges, without evidence, collusion and bad faith in an attempt to

mislead the Court and disqualify its only competition in the auction.

         3.     The Trustee intends to respond in due course fully and in detail to the barrage of

baseless allegations, selective quoting and half-truths in FUAC’s recent filings.

         4.     The Trustee reserves all rights, including those under Federal Rule of Civil

Procedure 11 and Federal Rule of Bankruptcy Procedure 9011 regarding the duties of attorneys

who sign their names to pleadings in this Court.


                                 [Signature Blocks on Following Page]




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                                Respectfully submitted,

                                By: /s/Joshua W. Wolfshohl
                                   Joshua W. Wolfshohl (Bar No. 24038592)
                                   Michael B. Dearman (Bar No. 24116270)
                                   Jordan T. Stevens (Bar No. 24106467)
                                   Kenesha L. Starling (Bar No.24114906)
                                   PORTER HEDGES LLP
                                   1000 Main Street, 36th Floor
                                   Houston, Texas 77002
                                   Telephone: (713) 226-6000
                                   Facsimile: (713) 226-6248
                                   jwolfshohl@porterhedges.com
                                   mdearman@porterhedges.com
                                   jstevens@porterhedges.com
                                   kstarling@porterhedges.com

                                   and

                                   /s/ Erin E. Jones
                                   Erin E. Jones (TX 24032478)
                                   JONES MURRAY LLP
                                   602 Sawyer Street, Suite 400
                                   Houston, Texas 77007
                                   Telephone: (832) 529-1999
                                   Fax: (832) 529-3393
                                   erin@jonesmurray.com

                                   Counsel for Christopher R. Murray,
                                   Chapter 7 Trustee

                                   and

                                   /s/ Christopher R. Murray
                                   602 Sawyer Street, Suite 400
                                   Houston, Texas 77007
                                   Telephone: (832) 529-3027
                                   Fax: (832) 529-3393
                                   chris@jonesmurray.com

                                   Chapter 7 Trustee




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